Case 2:20-cv-12880-JMV-JSA Document 118-5 Filed 01/14/22 Page 1 of 3 PageID: 3113




                    EXHIBIT C
Case 2:20-cv-12880-JMV-JSA Document 118-5 Filed 01/14/22 Page 2 of 3 PageID: 3114




  IN THE UNITED STATES DISTRICT COURT
  FOR THE DISTRICT OF NEW JERSEY
   DANIEL D’AMBLY, AARON WOLKIND, STEVE
   HARTLEY, RICHARD SCHWETZ, JOBEL BARBOSA,                       CIVIL ACTION
   MATTHEW REIDINGER, JOHN HUGO, SEAN-                            NO.: 2:20-cv-
   MICHAEL DAVID SCOTT, THOMAS LOUDEN,                            12880-
   ZACHARY REHL, AMANDA REHL, K.R., a minor, by                   JMV-JSA
   and through her father ZACHARY REHL, and her mother
   AMANDA REHL, MARK ANTHONY TUCCI,
                                                                  Hon. John M.
             Plaintiffs,                                          Vazquez, U.S.D.J.
      vs.
                                                                  DECLARATION
   CHRISTIAN EXOO a/k/a ANTIFASH                                  OF CHRISTIAN
   GORDON, ST. LAWRENCE UNIVERSITY,                               EXOO
   TRIBUNE PUBLISHING COMPANY, NEW
   YORK DAILY NEWS, VIJAYA GADDE;
   TWITTER, INC., COHEN, WEISS AND
   SIMON, LLP,

              Defendants.



  I, Christian Exoo declare as follows:

        1.     I am over the age of 18 and make this declaration of my own personal

     knowledge, and, if called as a witness, I could and would testify competently to

     the facts stated herein.

        2.     This Declaration is made in support of my motion to dismiss

     concerning the jurisdictional issues raised in the motion.
Case 2:20-cv-12880-JMV-JSA Document 118-5 Filed 01/14/22 Page 3 of 3 PageID: 3115




        3.    I live, work and conduct online research from the State of New York.

     My online research concerns individuals and groups located throughout the

     United States.

        4.    I do not conduct business in the State of New Jersey.

        5.    I do not own property in the state of New Jersey.

        6.    I do not pay taxes in the State of New Jersey.

        7.    I do not maintain any bank accounts in the State of New Jersey.

        8.    I do not visit the State of New Jersey with any regularity.

        9.    Other than the claims of Plaintiff D’Ambly, none of the Plaintiffs’

     claims in this case concern any activities relating to the State of New Jersey.

        10.    Other than Plaintiff D’Ambly, none of the Plaintiffs claim to live or

     work in New Jersey.

        11.   Other than Plaintiff D’Ambly, none of the Plaintiffs claim that I

     posted any information about them relating to the State of New Jersey.



  I declare under penalty of perjury under the laws of the United States of America

  that the forgoing is true and correct. Executed this16
                                                      __ day of April 2021, in

  Canton New York.
  ______,



              By:     ___________________
                      Christian Exoo
